     Case 3:22-cv-02602-N Document 12 Filed 02/27/23           Page 1 of 3 PageID 233



                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

LURACO HEALTH & BEAUTY LLC,                    §
                                               §
     Plaintiff,                                §
                                               §
v.                                             §   Civil Action No. 3:22-CV-02602-N
                                               §
CHRISTOPHER LAC LUONG, et al.,                 §
                                               §
     Defendants.                               §

                             SCHEDULING ORDER (PATENT)

         Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, the Local Rules of

this Court (“LR”), and the Civil Justice Expense and Delay Reduction Plan for the

Northern District of Texas, and subject to the requirements of Miscellaneous Order No.

62 (“MO62”), the Court orders as follows:

         1.       Any motions for leave to join additional parties must be filed within 90

days of the date of this Order. Any motion for leave to amend pleadings under Rule

15(a) must be filed within 180 days of this Order. Any motion for leave to amend

pleadings after that date must show good cause pursuant to Rule 16(b). The pendency of

a Rule 12 motion to dismiss does not stay the case unless the Court explicitly so orders.

         2.       At least fifteen days before filing the joint claim construction statement

required in MO62 ¶ 4-3, the parties shall conduct a preliminary mediation; all parties

must attend the mediation in person; legal entities must provide a representative with full

authority; if there is insurance per Rule 26(a)(1)(D), a representative with full authority

must attend in person; the parties and mediator may by agreement waive the requirement

                                                                                  (rev. 3/19)
   Case 3:22-cv-02602-N Document 12 Filed 02/27/23            Page 2 of 3 PageID 234



of attending in person; the parties may eliminate or delay mediation by agreement; and

the parties should promptly advise the court if they are unable to agree on a mediator.

       3.      a. Discovery regarding claims of inequitable conduct and patent misuse

shall be provided concurrently with that regarding invalidity pursuant to MO62 ¶¶ 3-3

through 3-7.    A party may object to discovery requests directed toward claims of

inequitable conduct and patent misuse (or may decline to provide information in its initial

disclosures under Fed. R. Civ. P. 26(a)(1)) on the ground they are premature in light of

the timetable provided in this Order and MO62.

       b.      Discovery regarding opposition to claims of invalidity, inequitable conduct,

and patent misuse shall be provided within forty-five days of service of preliminary

invalidity contentions pursuant to MO62 ¶ 3-3. A party may object to discovery requests

directed toward oppositions to claims of invalidity, inequitable conduct and patent misuse

(or may decline to provide information in its initial disclosures under Fed. R. Civ. P.

26(a)(1)) on the ground they are premature in light of the timetable provided in this Order

and MO62.

       c.      Following initial disclosure of damage pursuant to Fed. R. Civ. P.

26(a)(1)(C), discovery regarding damages is stayed until thirty days from the date the

Court’s claim construction ruling is filed.

       d.      Information regarding willfulness pursuant to MO62 ¶ 3-8 shall be

provided within fifty days from the date the Court’s claim construction ruling is filed.

       4.      To facilitate orderly preparation for trial, the Court has established an

expedited discovery hearing docket on Monday afternoons. Any party may request

                                                                                  (rev. 3/19)
   Case 3:22-cv-02602-N Document 12 Filed 02/27/23             Page 3 of 3 PageID 235



expedited hearing of a discovery dispute. Requests must be made by separate letter to the

Court’s Judicial Assistant, Donna Hocker, and must be received at least ten (10) days

prior to the requested docket; requests may be made concurrently with filing the motion.

If the matter is set on the expedited docket, the Court will advise the parties of applicable

procedures by separate order. Seeking relief from the Court on discovery disputes prior

to conducting a meaningful, substantive conference with the opposing party is

STRONGLY discouraged. A motion or objection to the taking of a deposition that is

filed within three business days of the notice has the effect of staying the deposition

pending court order on the motion or objection; otherwise the deposition will not be

stayed except by court order.

          5.    The Court may, by separate order, set a hearing on claim construction

issues.

          6.    Following filing of the Court’s ruling regarding claim construction, the

Court will by separate Order set the case for trial and address any further pretrial

scheduling issues.



          Signed February 27, 2023.




                                                           David C. Godbey
                                                    Chief United States District Judge




                                                                                  (rev. 3/19)
